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                Exhibit C
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Northern District
                                                       __________ Districtof
                                                                           ofIllinois
                                                                              __________
                       GROUPON, INC.,
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 1:21-cv-06082
                                                                              )
                           SUNG SHIN,                                         )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
                                                                       <HOS,QF
To:               &2-DPHV'DLUH/LWLJDWLRQ&RXQVHO<HOS,QF1HZ0RQWJRPHU\6WUHHWWK)ORRU6DQ)UDQFLVFR&$
                                                                   MGDLUH#\HOSFRP
                                                (Name of person to whom this subpoena is directed)

      ✔
      u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: Please see Appendix A.



 Place:    6KHSSDUG0XOOLQ5LFKWHU +DPSWRQ//3&2%DEDN<RXVHI]DGHK                Date and Time:
           )RXU(PEDUFDGHUR&HQWHU
           6HYHQWHHQWK)ORRU
           6DQ)UDQFLVFR&$

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:

                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)    Groupon, Inc.
                                                                        , who issues or requests this subpoena, are:
.HYLQ0&ORXWLHU(VT6KHSSDUG0XOOLQ5LFKWHU +DPSWRQ//3:0DGLVRQ6WWK)ORRU&KLFDJR,OOLQRLV
NFORXWLHU#VKHSSDUGPXOOLQFRP  
                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:21-cv-06082

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           APPENDIX A

                            DOCUMENT REQUESTS TO YELP, INC.

                                             Definitions

        A.      “Plaintiff” and “Groupon” refer to Groupon, Inc. and includes, without limitation,
all parents, subsidiaries, affiliates, divisions, predecessors, successors or assigns, and its and their
respective officers, directors, shareholders, partners, members, employees, agents, accountants,
advisors, contractors, representatives, and attorneys, and all persons who acted or purported to act
on behalf of Groupon.

       B.      “Defendant” and “Shin” refer to Sung Shin and his family, heirs, executors, and
administrators as well as any corporations, limited liability companies, limited liability
partnerships, or other entities owned, in whole or part, or controlled by Shin, any Person acting for
or on behalf of or at the request of Shin, or any Person under Shin’s authority or control.

         C.      “Yelp” means Yelp, Inc. and includes, without limitation, all parents, subsidiaries,
affiliates, divisions, predecessors, successors or assigns, and its and their respective officers,
directors, shareholders, partners, members, employees, agents, accountants, advisors, contractors,
representatives, and attorneys, and all persons who acted or purported to act on behalf of Yelp.

        D.      “Documents” include, by way of illustration only and not by way of limitation, the
following, whether printed or reproduced by any process, or written, produced by hand or by any
type of electronic means, specifically including e-mail and text or SMS messages (whether or not
ever reduced to a hard copy format), and whether or not claimed to be privileged or otherwise
excludable from discovery, namely: notes; correspondence; Facebook posts or messages; LinkedIn
posts or messages; communications of any nature; telegrams; memoranda; notebooks of any
character; summaries or records of personal conversations; diaries; routing slips or memoranda;
reports; publications; photographs; minutes or records of meetings; transcripts of oral testimony
or statements; reports and/or summaries of interviews; reports and/or summaries of investigations,
agreements and contracts, including all modifications and/or revisions thereof; reports and/or
summaries of negotiations; court papers; brochures; pamphlets; press releases; drafts of, revisions
of drafts of, translations of any document; tape recordings; records and dictation belts. Any
document with any marks on any sheet or side thereof, including by way of illustration only and
not by way of limitation, initials, stamped indicia, any comment or any notation of any character
and not a part of the original text, or any reproduction thereof.

        E.      “Communications” means any exchange or transfer or information whether
written, oral, graphic, electronic or in any other form, including metadata.

       F.     The connectives “and” and “or” shall be construed either disjunctively or
conjunctively as necessary to bring within the scope of the discovery request all responses that
might otherwise be construed to be outside of its scope.

         G.       The terms “all” and “each” shall both be construed as all and each.


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         H.    “Verified Complaint” refers to the Verified Complaint Plaintiff Groupon, Inc.
filed against Defendant Sung Shin in the United States District Court for the Northern District of
Illinois on November 12, 2021 captioned Groupon, Inc. v. Sung Shin, 21-CV-6082, and attached
hereto as Exhibit 1.

         I.       The use of the singular form of any word includes the plural and vice versa.

        J.    The time period covered by these requests, unless indicated otherwise in a
specific request, is from April 1, 2021 through the Present.

                                         Document Requests

         1.       All Documents and Communications, including but not limited to emails, text

messages and/or voicemails, between Yelp and Shin relating to his employment with Groupon.

         2.       All Documents and Communications, including but not limited to emails, text

messages and/or voicemails, between Yelp and Shin relating to Shin’s recruitment to and/or

application for employment with Yelp.

         3.       All Documents and Communications, including but not limited to emails, text

messages and/or voicemails, between Yelp and Shin relating to Shin’s employment and/or

prospective employment with Yelp.

         4.       All Documents and Communications, including but not limited to emails, text

messages and/or voicemails, between Yelp and Shin relating to any of the allegations and/or claims

in Groupon’s Verified Complaint against Shin.

         5.       All Documents and Communications Yelp provided to Shin with respect to his

recruitment to and/or employment with Yelp, including but not limited to, any employment

agreements, offer letters and/or restrictive covenant agreements.

         6.       All Documents and Communications relating to the Lead Product Management

position for Yelp’s Enterprise and Multi-Location - Yelp Audiences and In-store Measurement

Group and/or any other position for which Shin may hold at Yelp.



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         7.       All Documents and Communications relating to Shin’s position(s) with Yelp and/or

his duties and responsibilities and/or prospective duties and responsibilities at Yelp.

         8.       All Documents and Communications in Yelp’s possession, custody and/or control,

from January 1, 2014 through the Present, mentioning, discussing and/or referencing Groupon.

         9.       All Documents and Communications in Yelp’s possession, custody and/or control,

from January 1, 2014 through the Present, comparing Yelp’s services and/or offerings to

Groupon’s services and/or offerings.

         10.      All Documents and Communications, from January 1, 2014 through the Present,

relating to Yelp’s merchant and/or client advertising strategies and methodologies.




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